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                 EXHIBIT G




                                1
2020年12⽉2⽇ 星期三                                                                               欢迎您，15822709714
                                         Case 1:18-cv-11642-VM-VF Document 239-8 Filed 07/19/21 Page 2 of 5    退出 意见建议 返回主站 APP下载 使⽤帮助




                                       亢天辉等⾮非法拘禁罪⼆二审刑事裁定书
                                                                                                                       概要




                       ⾮法拘禁 点击了了解更更多                   发布⽇期：2020-11-26               浏览：38次
                                                                                                                       关联

                                             北北京市第三中级⼈人⺠民法院
                                                刑事裁定书
                                                                                            （2020）京03刑终618号
                      原公诉机关北京市朝阳区⼈民检察院。
                      上诉⼈（原审被告⼈）亢天辉，男，1991年3⽉6⽇出⽣于⿊龙江省伊春市，汉族，⾼中
                 ⽂化，⽆业，户籍所在地⿊龙江省伊春市友好区。因涉嫌犯⾮法拘禁罪于2018年8⽉12⽇被
                 羁押，同⽇被刑事拘留，同年9⽉14⽇被逮捕。现羁押于北京市朝阳区看守所。
                      原审被告⼈商凤起，男，1994年1⽉21⽇出⽣于内蒙古⾃治区通辽市，蒙古族，初中⽂
                 化，⽆业，户籍所在地内蒙古⾃治区通辽市科尔沁区。因涉嫌犯⾮法拘禁罪于2018年8⽉12
                 ⽇被羁押，同⽇被刑事拘留，同年9⽉14⽇被逮捕。现羁押于北京市朝阳区看守所。
                      北京市朝阳区⼈民法院审理北京市朝阳区⼈民检察院指控原审被告⼈亢天辉、商凤起犯
                 ⾮法拘禁罪⼀案，于2020年9⽉23⽇作出（2019）京0105刑初1095号刑事判决。原审被告⼈亢
                 天辉对判决不服，提出上诉。本院依法组成合议庭，经过阅卷，讯问了上诉⼈亢天辉、原审
                 被告⼈商凤起，认为本案事实清楚，决定不开庭审理。现已审理终结。
                      北京市朝阳区⼈民法院的刑事判决认定：2016年11⽉10⽇，被害⼈林某1在北京市朝阳
                 区被⼈强⾏带⾛。2017年8⽉的⼀天，被告⼈亢天辉指⽰被告⼈商凤起在xx⾼速xx出⼜处从
                 ⼀男⼦⼿中接到林某1，并带⾄亢天辉在天津的暂住地对林某1进⾏看管。同年9⽉，亢天
                 辉、商凤起开车将林某1带⾄⿊龙江省伊春市继续看管。同年11⽉底12⽉初，亢天辉、商凤
                 起开车将林某1带⾄福建省厦门市继续看管。2017年12⽉27⽇，经警⽅电话通知，商凤起带
                 林某1返回北京，并和亢天辉⼀起⼊住酒店。次⽇，林某1返回家中。2018年8⽉12⽇亢天
                 辉、商凤起向公安机关投案。公安机关扣押了亢天辉的苹果牌⼿机2部、商凤起的OPPO牌
                 ⼿机1部，现在案。另，公安机关查封了亢天辉的房产⼀处，现移送在案。
                      上述事实，有被害⼈林某1的陈述，林某1向公安机关提供的案情补充说明材料，辨认笔
                 录，证⼈郭某、林某2、李某1、张某、李某2、⾟某、史某的证⾔，公安机关出具的⼯作记
                 录、扣押决定书、扣押清单，亢天辉农业银⾏账户6228********交易明细、⾟某农业银⾏账
                 户6228********交易明细，购房合同及刷卡⽀付单据，查封决定书、查封清单，北京通达⾸
                 诚司法鉴定所司法鉴定意见书，到案经过，被告⼈亢天辉、商凤起的供述等证据予以证实。
                      根据上述事实及证据，北京市朝阳区⼈民法院认为，被告⼈亢天辉、商凤起法制观念淡
                 薄，⾮法拘禁他⼈，⼆被告⼈的⾏为侵犯了他⼈⼈⾝权利，触犯了刑法，已构成⾮法拘禁
                 罪，依法应予惩处。亢天辉、商凤起此前没有前科劣迹，主动投案，当庭对部分犯罪事实予
                 以承认，故本院对⼆被告⼈所犯罪⾏均予以从轻处罚，并结合⼆被告⼈在共同犯罪中的具体
                 作⽤予以量刑。⼆被告⼈的犯罪所得，依法应予追缴。根据在案证据，本院认定亢天辉⾮法
                 所得⼈民币155万元，商凤起⾮法所得⼈民币28000元。在案之OPPO牌⼿机，商凤起供称在
                 拘禁林某1时予以使⽤，系犯罪⼯具，依法应予没收。在案之苹果牌⼿机两部，亢天辉供称
                 没有在拘禁林某1时使⽤过，系其个⼈物品，本院依法予以处理。在案查封的房产⼀套，系
                 亢天辉所有，本院依法予以处理。故判决：⼀、被告⼈亢天辉犯⾮法拘禁罪，判处有期徒刑
                 ⼆年六个⽉；⼆、被告⼈商凤起犯⾮法拘禁罪，判处有期徒刑⼆年三个⽉；三、继续追缴亢
                 天辉⾮法所得⼈民币⼀百五⼗五万、商凤起⾮法所得⼈民币⼆万⼋千元，予以没收；四、在
                 案之房产⼀套、苹果牌⼿机⼆部，变价后折抵被告⼈亢天辉的⾮法所得款；在案之OPPO牌
                 ⼿机⼀部，予以没收。
                      上诉⼈亢天辉的上诉理由是：原判认定其⾮法所得的数额与事实不符，对其房产的处理
                 不当。
                      本院经审理查明的事实和证据与原判相同。⼆审期间，上诉⼈亢天辉及原审被告⼈商凤
                 起均未提供新的证据。经审核,原判列举的各项证据,经⼀审法院开庭质证属实,能够证明案件
                 事实，本院均予以确认。
                      关于上诉⼈亢天辉所提上诉理由，经查，亢天辉针对⾮法所得的情况在侦查阶段有过多
                 次供述，其供述中所称收到钱款的数额、形式、存放账户、处理⽅式、退款原因、退款⾦额
                 等细节内容有在案证⼈李某1的证⾔、被害⼈林某1向公安机关提供的案情补充说明材料、亢
                 天辉以及⾟某农业银⾏账户2017年9⽉⾄2017年12⽉交易明细等证据予以印证。其所称从事
                 物流⾏业年收⼊六七⼗万⾄⼆三百万的情况与在案证⼈⾟某的证⾔、亢天辉以及⾟某农业银
                 ⾏账户2016年11⽉⾄2017年8⽉交易明细等证据证明的内容相背，不具备可信性。综上，原
                 审法院结合在案证据材料认定其⾮法所得的数额及对查封房产的处理并⽆不当。
                      本院认为，上诉⼈亢天辉、原审被告⼈商凤起⽆视国法，共同长期剥夺他⼈⼈⾝⾃由，
                 其⾏为均已构成⾮法拘禁罪，依法应予惩处。鉴于亢天辉、商凤起均系初犯，有主动投案情
                 节，庭审中能如实供述部分犯罪事实，可以酌情从轻处罚。原审法院根据上诉⼈亢天辉、原
                 审被告⼈商凤起犯罪的事实、犯罪的性质、情节和对于社会的危害程度所作出的判决，定罪
                 和适⽤法律正确，量刑及对在案物品处理适当，审判程序合法，应予维持。据此，依照《中
                 华⼈民共和国刑事诉讼法》第⼆百三⼗六条第⼀款第（⼀）项之规定，裁定如下：
                      驳回亢天辉的上诉，维持原判。
                      本裁定为终审裁定。
                                                                                          审判长          孙        蓉
                                                                                          审判员          李        丹
                                                                                          审判员          ⽅        ⽟
                                                                                      ⼆〇⼆〇年⼗⼀⽉六⽇
         ⽬录
                                                                                         法官助理          李        烨
                                                                                          书记员          宋叶娉婷            指导
                                                                                                                       案例
                                                                                                                       推荐
                                                                                                                       案例
                                                             公告

                 ⼀、本裁判⽂书库公布的裁判⽂书由相关法院录⼊和审核，并依据法律与审判公开的原则予以公开。若有关当事⼈对相关信息内容有异

              议的，可向公布法院书⾯申请更正或者下镜。

                 ⼆、本裁判⽂书库提供的信息仅供查询⼈参考，内容以正式⽂本为准。⾮法使⽤裁判⽂书库信息给他⼈造成损害的，由⾮法使⽤⼈承担

              法律责任。

                 三、本裁判⽂书库信息查询免费，严禁任何单位和个⼈利⽤本裁判⽂书库信息牟取⾮法利益。

                 四、未经允许，任何商业性⽹站不得建⽴本裁判⽂书库的镜像（包括全部和局部镜像）。

                 五、根据有关法律规定，相关法院依法定程序撤回在本⽹站公开的裁判⽂书的，其余⽹站有义务免费及时撤回相应⽂书。




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          |   中国执⾏信息公开⽹    |   全国法院减刑、假释、暂予监外执⾏信息⽹                  |    中国涉外商事海事审判⽹            |   最⾼⼈民法院服务⼈民群众系统场景导航        |
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                               刑 事 裁 定 书（2020）京 03 刑终 618 号

                                   原公诉机关北京市朝阳区人民检察院
                          Criminal Judgment (2020) Jing 03 Xing Zhong #618
            Original Public Prosecution Office, Beijing Chaoyang District people's Procuratorate


上诉人（原审被告人）亢天辉因涉嫌犯非法拘禁罪于 2018 年 8⽉12⽇被羁押，同⽇被刑事拘留，同

年 9⽉14⽇被逮捕。现羁押于北京市朝阳区看守所。
Appellant(First instance defendant) KTH, was detained on suspicion of false imprisonment offence on Aug.
12, 2018, and held on criminal detention the same day, under arrest on Sept. 14 in the same year.Currently
detained in Beijing Chaoyang District Detention Center.


原审被告人商凤起因涉嫌犯⾮法拘禁罪于 2018 年 8⽉12⽇被羁押，同⽇被刑事拘留，同年 9 月 14

日被逮捕。现羁押于北京市朝阳区看守所。
First instance defendant, SFQ, on suspicion of false imprisonment offence, was detained on Aug 12 2018,
on criminal detention the same day, and under arrest on Sept. 14 in the same year. Currently detained in
Beijing Chaoyang District Detention Center.


北京市朝阳区人民法院审理北京市朝阳区人民检察院指控原审被告人亢天辉、商凤起犯非法拘禁罪一

案，于 2020 年 9⽉23⽇作出（2019）京 0105 刑初 1095 号刑事判决。原审被告人亢天辉对判决不

服，提出上诉。本院依法组成合议庭，经过阅卷，讯问了上诉人亢天辉、原审被告人商凤起，认为本

案事实清楚，决定不开庭审理。现已审理终结。
On hearing of Beijing Chaoyang District People's Procuratorate accused first instance defendants KTH, SFQ
for false imprisonment offence, Beijing Chaoyang District People's Court reached criminal judgment (2019)
Jing 0105 Xing Chu 1095 on Sept 23, 2020.First instance defendant KTH did not agree with the verdict and
appealed against the judgment. The Court formed a collegial panel by law, reviewed and questioned the
appellant KTH and the first instance defendant SFQ, considered that the facts of the case are clear and
decided not to hold a hearing. Proceedings are closed.


上诉人亢天辉的上诉理由是：原判认定其非法所得的数额与事实不符，对其房产的处理不当。

本院经审理查明的事实和证据与原判相同。二审期间，上诉人亢天辉及原审被告人商凤起均未提供新

的证据。经审核,原判列举的各项证据,经一审法院开庭质证属实,能够证明案件事实，本院均予以确

认。
The appellant’s grounds of appeal: the first instance findings of his ill-gotten gains are inconsistent with the
actual amount and the disposal of his property was improper. The facts and evidence ascertained by the
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Court identified with the first instance judgment. Within second instance trial, neither the appellant KTH nor
the first instance defendant SFQ provided new evidence. After examination and verification of various
evidence of the first instance judgment, that have been cross-examined by first instance court on opening
sessions, sufficiently proved the case facts, which this court confirmed without exception.


本院认为，上诉人亢天辉、原审被告人商凤起无视国法，共同长期剥夺他人人身自由，其行为均已构

成非法拘禁罪，依法应予惩处。鉴于亢天辉、商凤起均系初犯，有主动投案情节，庭审中能如实供述

部分犯罪事实，可以酌情从轻处罚。原审法院根据上诉人亢天辉、原审被告人商凤起犯罪的事实、犯

罪的性质、情节和对于社会的危害程度所作出的判决，定罪和适用法律正确，量刑及对在案物品处理

适当，审判程序合法，应予维持。据此，依照《中华人民共和国刑事诉讼法》第二百三十六条第一款

第（一）项之规定，裁定如下：

驳回亢天辉的上诉，维持原判。

本裁定为终审裁定。
The court believes that, the appellant KTH, and first instance defendant SFQ ignored national law, jointly
deprived others of their personal freedom for a long time, and their acts have constituted the crime of false
imprisonment, that should be punished in accordance with the law. In view of the fact that both KTH and
SFQ are first time offenders, there are voluntary surrender circumstances, and during the trial there are
truthful confession on partial crime facts, lenient punishment could be given where appropriate. Based on
the appellant KTH, the defendant SFQ’s crime facts, crime nature, crime circumstances and extent of injury
to society, the first instance court’s judgement, conviction and applicable law are correct, measurement of
penalty and disposal of items on the case record are appropriate, and judicial procedure is lawful and should
be sustained. In accordance with Criminal Procedure Law of the People's Republic of China article 236- 1(a),
of the , it is ruled as follows:
KTH's appeal is denied and the first instance judgment sustain .
This ruling is final.


审 判 长         孙     蓉
Chief judge    Sun Rong
审 判 员         李     丹
Judge          Li Dan
审 判 员         ⽅     ⽟
Judge         Fang Yu
⼆〇⼆〇年⼗⼀⽉六⽇
November 6, 2020
法官助理          李     烨
                                                      3
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Assistant judge Li Ye
书 记 员       宋叶娉婷
Court clerk Song Ye Pingting




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